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                      EXHIBITA
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                                                 EXHIBIT A:

               EXAMPLES OF DEFICIENCIES IN DEFENDANTS' PRODUCTIONS


    Defendants Heimbach,Identity Evropa, Mosley, NF, NSM, Ray, Schoep,
    TWP. and Vanguard America

    a       No documents produced. Defendants Heimbach, Ray, NF, and Vanguard America
            implausibly claim to have no responsive documents.l See Matthew Heimbach's Resp. to
            First Set of Interrogs. & Req. for Produc. of Docs. at2-3; Robert Ray's Resp. to First Set
            of Interrogs. & Req. for Produc. of Docs. at24; NF's Resp. to First Set of Interrogs. &
            Req. for Produc. of Docs. at2-3; Vanguard Americaos Resp. to First Set of Interrogs. &
            Req. for Produc. ofDocs. at2-3.

    Defendant Parrott

    a       Failed to produce any communications via Facebook, Twitter, or personal email, all of
            which he identified as means of communications relevant to this litigation in his response
            to Plaintiffs' Interrogatory No. 7. See Matt Parroff's Resp. to Pls.' First Set of Interrogs.
            & Req. for Produc. of Docs. at l--2.

    a       Failed to produce Defendant TWP's "membership rolls," which Defendant Parrott has
            repeatedly and publicly assured his followers that he will not produce in this litigation.
            See, e.g., ECF 354 at 5.

    a       Failed to produce text message exchanges with Defendant Kessler from October and
            November 2017 that Defendant Kessler produced, demonstrating that Defendant Parrott's
            document preservation, collection, and production are incomplete.

    Defendants Hill. Tubbs. & LOS

            Produced only a single PDF file on behalf of all three Defendants which appears to be a
            compilation of numerous documents such as e-mails and images, copied and pasted from
            their source files, and without identifying the custodian of each individual document.
    a
           Failed to produce any communications via Twitter or Facebook, call logs, or podcasts, all
           of which these Defendants identified as means of communications relevant to this litigation
           in their responses to Plaintiffs' Interrogatory No.   l.See LOS's First Suppl. to Answer to
           Pls.' First Set of Interrogs. to All Defs. at 8; Michael Hill's First Suppl. to His Answerto
           Pls.' First Set of Interrogs. to All Defs. at 8; Michael Tubbs's First Suppl. to His Answer
           to Pls.'First Set of Interrogs. to All Defs. at 8.




        Again, Defendant Fields also has not produced any documents, but has not been pressed to do so to
        date because of his current incarceration. See Motion, n.1.
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     a       Defendant Hill failed to produce a text message exchange with Defendant Kessler from
             June-July 2017 regafiing promotion of the Unite the Right "rally" that Defendant Kessler
             produced, demonstrating that Defendant Hill's document preservation, collection, and
             production are incomplete.

     Defendant Cantwell

     a       Produced copies of emails that do not reflect the recipients of the emails

     a       Failed to produce any relevant communications via Gab, Facebook, or Twitter, as well as
             material from his personal websites, all of which he identified as means of
             communications relevant to this litigation in his response to Plaintiffs' Interrogatory
             No. l. See Def. Christopher Cantwell's Resps. to Pls.' First Interrogs. & Req. for Produc.
             of Docs. at l.

     o       Failed to produce December 2017 text message exchanges with Defendant Kessler that
             Defendant Kessler produced, demonstrating that Defendant Cantwell's document
             preservation, collection, and production are incomplete.

    Defendant Damiso

    a        Produced a single screenshot of a one-page text message exchange with an unnamed person
             on an unknown date at an unknown time.

    a        Failed to produce any communications via Twitter, Slack, or personal email (and only a
             single screenshot of a text message exchange, see supra), all of which he identified as
             means of communications relevant to this litigation in his response to Plaintiffs'
             Interrogatory No. 1. Def. Nathan Damigo's Resps. to Pls.' First Interrogs. & Req. for
             Produc. ofDocs. at l.

    a        Failed to produce text messages with Defendants Spencer and Kessler from June, July, and
             August 2017 rcgarding plans for the Unite the Right "rally" that Defendants Spencer and
             Kessler produced, demonstrating that Defendant Damigo's document preservation,
             collection, and production are incomplete.

    Defendant Kessler

    a        Produced a report listing the materials that were imaged from his cell phone that Plaintiffs
             understand hit on the search terms provided by Plaintiffs, without providing the actual
             electronic files (e.g., a list of the audio files that were copied without providing the actual
             audio files so that they can be listened to by Plaintiffs' counsel).2



    2
         On October 79,2018, Plaintiffs contacted Defendant Kessler to alert him to this deficiency in his
         October 1,2018 production. Should Defendant Kessler supplement that production to include all
         documents obtained through the imaging of Defendant Kessler's cell phone (and application of relevant
         search terms), Plaintiffs would withdraw as moot their request to image that cell phone. Plaintiffs
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     Defendant Spencer

     a       Produced a screenshot of a text message exchange with Defendant Kessler reflecting the
             exchange of image files and videos without producing the actual image files and videos.

    o        Produced a document    with retyped Twitter posts referring to non-produced videos and
             lacking the time of day the posts were published, the preceding posts to which he was
             responding, and the responses, ifany.

             Failed  to produce July-August 2017 text messages with Defendant Cantwell that
             Defendant Cantwell produced, and August 14,2017 text messages with Defendants Kessler
             and Invictus concerning post-"rally" press that Defendant Kessler produced,
             demonstrating that Defendant Spencer's document preservation, collection, and production
             are incomplete.

    a        Failed to produce any communications via Facebook, Skype, or Slack, call logs, podcasts,
             or material from personal websites, all of which he identified as means of communications
             relevant to this litigation in his response to Plaintiffs' Interrogatory No. 1. Def. Richard
             Spencer's Objs. & Resps. to Pls.' First Set of Interrogs. at 4.




         would continue, however, to pursue court-ordered imaging of any other electronic device used by
         Defendant Kessler to communicate about the events at issue in this litigation.
